

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0176-07





CHARLES UKANWA OJO, Appellant


                  




v.



THE STATE OF TEXAS





ON STATE'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FURST COURT OF APPEALS


FORT BEND COUNTY





		Per curiam.  Keasler, and Hervey, JJ., dissent.


O R D E R 



	The petition for discretionary review violates Rule of Appellate Procedure 68.4(i)
because it does not contain a complete copy of the opinion of the court of appeals.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition may be filed in the
Court of Criminal Appeals within thirty days after the date of this order.

En banc

Delivered:  April 18, 2007

Do Not Publish



